                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR17-4010-MWB
 vs.                                           ORDER ACCEPTING MAGISTRATE
                                                   JUDGE’S REPORT AND
 KIMBERLY CALLES-SHEKER,                       RECOMMENDATION REGARDING
               Defendant.                        DEFENDANT’S GUILTY PLEA

                                  ____________________

                                  I.    BACKGROUND

        On February 23, 2017, an Indictment was returned against defendant Kimberly
Calles-Sheker. On May 16, 2017, defendant appeared before United States Magistrate
Judge Kelly K.E. Mahoney and entered a plea of guilty to Count 4 of the Indictment. On
this same date, Judge Mahoney filed a Report and Recommendation in which she
recommended that defendant’s guilty plea be accepted (docket no. 38). No objections to
the Report and Recommendation were filed.1 I, therefore, undertake the necessary review
of Judge Mahoney’s recommendation to accept defendant’s plea in this case.


                            II.   APPLICABLE STANDARDS

        A district judge must review a magistrate judge’s Report and Recommendation in a
criminal case under the following standards:

              Within fourteen days after being served with a copy, any party
              may serve and file written objections to such proposed findings
              and recommendations as provided by rules of court. A judge
              of the court shall make a de novo determination of those

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      The parties have waived the fourteen-day period in which to file objections to Judge
Mahoney’s Report and Recommendation.



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              portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1); see also FED. R. CRIM. P. 59(b). Thus, when a party objects to any
portion of a Report and Recommendation, the district judge must undertake a de novo
review of that portion.
       Any portion of a report and recommendation to which no objections have been made
must be reviewed under at least a “clearly erroneous” standard. See, e.g., Grinder v.
Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the
district court judge] would only have to review the findings of the magistrate judge for
clear error”). As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when
although there is evidence to support it, the reviewing court on the entire evidence is left
with the definite and firm conviction that a mistake has been committed.” Anderson v. City
of Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review a Report and
Recommendation under a more-exacting standard even if no objections are filed:

              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                   III.    DISCUSSION

       Because neither party objects to the Report and Recommendation, I have reviewed
it for clear error. Based on that review, I am not “left with the definite and firm conviction

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that a mistake has been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby
accept the Report and Recommendation without modification and accept defendant’s plea
of guilty in this case as to Count 4 of the Indictment.2
       IT IS SO ORDERED.
       DATED this 19th day of May, 2017.



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                                           MARK W. BENNETT
                                           U.S. DISTRICT COURT JUDGE
                                           NORTHERN DISTRICT OF IOWA




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        United States v. Cortez-Hernandez, ---Fed. App’x ---, .2016 WL 7174114 (8th Cir.
Dec. 9, 2016) (per curiam), suggests that a defendant may have the right to de novo review
of a magistrate judge’s recommendation to accept a plea of guilty even if no objection is
filed. But see 28 U.S.C. § 636(b)(1); FED. R. CRIM. P. 59(b). I will undertake a de novo
review of the Report and Recommendation if a written request for such review is filed
within seven days after this order is filed.
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